
PER CURIAM.
John Varnes appeals the summary denial of his motion for postconviction relief. Varnes is currently serving a life sentence for murder. He alleges that the trial court retained jurisdiction over one-third of that sentence pursuant to section 947.16(4), Florida Statutes (1985). If this is true, the retention is improper and should be stricken. Willis v. State, 447 So.2d 283 (Fla. 2d DCA 1983).
Accordingly, we reverse and remand this case to the trial court with directions either to grant the relief requested or to attach sufficient portions of the record to demonstrate that Varnes is not entitled to relief.
RYDER, C.J., and DANAHY and FRANK, JJ., concur.
